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 Fill in this information to identify the case:

 Debtor 1              Eric Jones

 Debtor 2
 (Spouse, if filing)

 United States Bankruptcy Court for the : Eastern                  District of Arkansas
                                                                              (State)

 Case number           4:21-bk-10598



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement
to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

 Name of creditor:             Freedom Mortgage Corporation                        Court claim no. (if known):         32

 Last four digits of any number you                 XXXXXX8749                     Date of payment change:
 use to identify the debtor’s account:                                             Must be at least 21 days after date of             7/1/2025
                                                                                   this notice

                                                                                   New total payment:
                                                                                   Principal, interest, and escrow, if any           $1,378.83

 Part 1:         Escrow Account Payment Adjustment

 1.     Will there be a change in the debtor’s escrow account payment?
        $ No
        $ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
           for the change. If a statement is not attached, explain why: __________________________________________________________
           ___________________________________________________________________________________________________
            Current escrow payment:          $ 454.81                                      New escrow payment :          $ 584.27

 Part 2:         Mortgage Payment Adjustment

 2.     Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s
        variable-rate account?
        $ No
        $ Yes Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not attached,
           explain why: ___________________________________

              Current interest rate:                        %                              New interest rate:          %

              Current principal and interest payment:       $ _________                    New principal and interest payment:            $ __________

 Part 3:         Other Payment Change
 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
      $ No
      $ Yes. Attach a copy of any documents describing the basis for the change, such as repayment plan or loan modification agreement.
         (Court approval may be required before the payment change can take effect.)


            Reason for change: ____________________________________________________________________________


            Current mortgage payment:                $ _________                           New mortgage payment:             $ _________




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   Debtor 1            Eric Jones                                                    Case number (if known) 4:21-bk-10598
                      First Name Middle Name    Last Name


 Part 4:          Sign Here

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

      $ I am the creditor.
      $ I am the creditor’s authorized agent

 I declare under penalty of perjury that the information provided in this Notice is true and correct to the best of my
 knowledge, information, and reasonable belief.
  X    /s/Jackson E. Duncan, III                                                        Date      05/19/2025
       Signature

 Print:          Jackson               E.                            Duncan, III        Title    Authorized Agent for Creditor
                 First Name            Middle Name                   Last Name

 Company         McCalla Raymer Leibert Pierce, LLP

 Address         1544 Old Alabama Road
                 Number      Street
                 Roswell                       GA                     30076
                 City                          State                  ZIP Code

 Contact phone        205-208-1804                                                      Email     Jackson.Duncan@mccalla.com




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                                                     Bankruptcy Case No.: 4:21-bk-10598
  In Re:                                             Chapter:             13
           Eric Jones                                Judge:               Phyllis M. Jones

                                  CERTIFICATE OF SERVICE

       I, Jackson E. Duncan, III, of McCalla Raymer Leibert Pierce, LLP, 1544 Old Alabama
Road, Roswell, GA 30076, certify:

       That I am, and at all times hereinafter mentioned, was more than 18 years of age;

       That on the date below, I caused to be served a copy of the within NOTICE OF
MORTGAGE PAYMENT CHANGE filed in this bankruptcy matter on the following parties at
the addresses shown, by regular United States Mail, with proper postage affixed, unless another
manner of service is expressly indicated:

Eric Jones
11 Park Ridge Drive
Maumelle, AR 72113

Mickey Lynn Stevens                  (Served via ECF at skeltonandstevens@outlook.com)
American Bankruptcy Associates PLLC.
Skelton & Stevens Legal Group PLLC.
2615 N. Prickett Road Suite 2
Bryant, AR 72022

Jack W. Gooding, Trustee                    (Served via ECF Notification)
Chapter 13 Standing Trustee
P.O. Box 8202
Little Rock, AR 72221-8202

U.S. Trustee (ust)                          (Served via ECF Notification)
Office Of U. S. Trustee
200 W Capitol, Ste. 1200
Little Rock, AR 72201

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE
AND CORRECT.

 Executed on:      05/20/2025      By:    /s/Jackson E. Duncan, III
                    (date)                Jackson E. Duncan, III
                                          Authorized Agent for Creditor
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